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  Ross MacDonald, MD                                                    Email: rossmacdonaldmd@gmail.com
  159 W. 73rd St. Apt 1R                                                917 539 0780
  New York, NY 10023

  Professional Experience:
  6/2017-         NYC Health + Hospitals
  Present         Chief Medical Officer/Senior Assistant Vice President—H+H Correctional Health
                  Services
                          Medical leadership of the public hospital system’s division responsible
                          for healthcare for those incarcerated in the NYC jail system. Responsible
                          for Medical, Mental Health and Social Work/Discharge Planning and
                          Substance Use Treatment for an average daily population of 9,000
                          individuals incarcerated in NYC jails/~50,000 admissions per year in 12
                          jail facilities, each with 24 hour clinics staffed by MDs, innovative MH
                          programming units designed to draw down the use of solitary
                          confinement, crisis intervention teams, the nation’s largest jail-based
                          opioid treatment program, etc. Oversees Chief Nursing Officer, Chief of
                          Medicine, Chief of Psychiatry and Social Work Services, overall more
                          than 1,100 healthcare staff.

  3/2017-         NYC Health + Hospitals
  6/2017          Interim Chief Medical Officer—H + H Correctional Health Services

  3/2017-         Bellevue Hospital Center, New York, NY
  Present         Attending Physician
                          Provide direct patient care overseeing a team of residents, interns and
                          medical students on the academic teaching service in two-week blocks.

  8/2015-         NYC Health + Hospitals
  6/2017          Chief of Service, Medicine—H + H Correctional Health Services
                           Medical leadership of a newly created division of the NYC public hospital
                           network, devoted to taking over direct care (formerly contracted) for
                           those incarcerated in the NYC jail system. Responsible an average daily
                           population of 10,000 individuals incarcerated in NYC jails/~55,000
                           admissions per year in 12 jail facilities, each with 24 hour clinics staffed
                           by MDs, one hemodialysis unit, specialty clinics, full time emergency
                           medicine staff and two infirmaries. Defines policy, procedure and
                           workflow for medical care in the jail system. Oversees Directors of
                           Nursing, Pharmacy. Provides Resident Teaching/Direct Patient Care.
                           Directs medical QI efforts. Oversees jail-based opioid treatment
                           program.

  9/2013-         Montefiore Medical Center, Bronx, NY
  3/2017          Attending Physician-
                         Provide direct patient care overseeing a team of residents, interns and
                         medical students on the academic teaching service in two-week blocks.

  7/2012-         NYC Department of Health and Mental Hygiene-
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  8/2015         Medical Director—Bureau of Correctional Health Services
                        Responsible for the medical care for an average daily population of
                        12,000 individuals incarcerated in NYC jails/~80,000 admissions per
                        year. Oversaw contractual agreement with vendors to provide care in 12
                        jail facilities, each with 24 hour clinics staffed by MDs, one hemodialysis
                        unit, specialty clinic, full time emergency medicine staff and two
                        infirmaries. Defined policy, procedure and workflow for medical care in
                        the jail system. Oversaw Departments of Nursing, Pharmacy. Chaired
                        Clinical Multi-Disciplinary QI committee. Provided Resident
                        Teaching/Direct Patient Care. 12/2013- assumed oversight (sponsorship)
                        of the Rikers Island Opioid Treatment Program

  7/2011-        NYC Department of Health and Mental Hygiene-
  7/2012         Deputy Medical Director—Bureau of Correctional Health Services
                        Managed Policy and Procedure Revision and Implementation. Oversaw
                        quality Improvement Initiatives. Served as Liaison to Medical Leadership
                        of Contracted Vendors, Site Medical Directors of 12 Jails and Leadership
                        of HHC Hospitals. Oversaw Clinical Management and Care Coordination
                        for Difficult Cases. Developed and Implemented Trainings for Clinical
                        Staff. Worked with IT to Customize and Optimize Electronic Medical
                        Record Initiatives. Provided Resident Teaching/Direct Patient Care.

  Postgraduate Training:
  7/2008-6/2011          Albert Einstein College of Medicine/Montefiore Medical Center;
                         Bronx, NY
                                 Internship and Residency in Social Internal Medicine
                                 Internal Medicine Residency Program

  2008-2011              Comprehensive Health Care Center-Montefiore Medical Group. Bronx,
                         NY
                               Worked as a primary care physician at a federally-qualified
                               Health center (FQHC) as the ambulatory component of residency
                               training

  2009-2011              Human Rights Clinic - Doctors of the World; Bronx, NY
                               Provided comprehensive clinical examinations for survivors of
                               torture; wrote affidavits and testified on behalf of asylum
                               applicants.

  July, 2010             Ministry of Health District Hospital; Kisoro, Uganda
                                 Served as the primary physician of a 30-bed female ward and
                                 outpatient clinic of a rural district hospital.
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  Education:
  8/2004-5/2008           Weill Medical College of Cornell University, New York, NY
                          Doctor of Medicine

  8/1999-6/2003           Cornell University, College of Arts and Sciences, Ithaca, NY
                          Bachelor of Arts in Biological Sciences and English Literature

  Board Certification:
  American Board of Internal Medicine, Valid through 12/2021

  Licensure:
  NY State License # 261317
  Buprenorphine Licensed Prescriber
  Valid NYS DEA

  Teaching Experience:
  3/2017-        NYU School of Medicine
  Present        Clinical Assistant Professor, Department of Medicine
                          Supervise and evaluate medical students carrying out the inpatient
                          component of their internal medicine clerkship

  7/1/2015-       Albert Einstein College of Medicine, Bronx, NY
  3/2017          Assistant Professor
                          Supervise and evaluate medical students carrying out the inpatient
                          component of their internal medicine clerkship

  9/1/2013-       Albert Einstein College of Medicine, Bronx, NY
  7/1/2015                Instructor of Medicine
                          Supervise and evaluate medical students carrying out the inpatient
                          component of their internal medicine clerkship

  2006            Co-director HPREP
                          Codirected a six-week educational program for underrepresented high
                          school students interested in medical professions

  2002-2004       Cornell at Auburn, Auburn Prison. Auburn NY. Teaching Assistant.
                          TA for a literature class for inmates at Auburn Prison. Developed
                          and instructed an auxiliary writing class in which inmates received
                          Cornell credits.

  Professional Society Memberships:
  American College of Physicians
  American Public Health Association
  American Society of Addiction Medicine
  Medical Society of the State of New York
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  Honors and Awards:
  2014 Most Impactful Journal Article, NYC DOHMH, Co-author
  2014 Paper of the Year, American Journal of Public Health, Co-author
  Solitary confinement and risk of self-harm among jail inmates. Am J Public Health.
  2014;104(3):442–447.

  David E. Rogers Health Policy Colloquium Medallion, 2014

  NYC DOHMH Distinguished Service Award, 2013
  Awarded for “exemplary dedication and leadership during the response to Hurricane Sandy”

  The Yvette and Seymour Feil prize in Medicine, 2008
  Chosen by the Department of Medicine's chairman and faculty, and approved by the Office of
  the Dean, the student selected will pursue a career in internal medicine, and will demonstrate
  the exceptional qualities of a gifted physician including compassion, caring, and the pursuit of
  scientific knowledge.

  Paul Sherlock Prize in Internal Medicine, 2008
  Determined by vote of the graduating class, and is presented to the graduating student who is
  pursuing a career in internal medicine and who has demonstrated exceptional integrity and
  compassion in caring for patients, as exemplified by Dr. Sherlock.

  Dr. Milton B. Rosenbluth International Fellowship, Salvador, Brazil 2008
  Weill Cornell Medical College Admissions Committee Member, 2007-2008

  Expert Witness Work:
  2018 Carter v. Dr. Marc J. Mcnaughton, et alia.
  2016 Estate of Matthew Wayne Triplett v. Primecare Medical of West Virginia, Inc
  2014 Marcum v. Scioto County Ohio/Board of Commissioners et. Alia.

  Publications:
  The Rikers Island Hot Spotters: Exploring the Needs of the Most Frequently
  Incarcerated. Harocopos A, Allen B, Glowa-Kollisch S, Venters H, Paone D, MacDonald R.
  J Health Care Poor Underserved. 2017;28(4):1436-1451.

  Witnessed overdoses and naloxone use among visitors to Rikers Island jails trained in
  overdose rescue. Huxley-Reicher Z, Maldjian L, Winkelstein E, Siegler A, Paone D, Tuazon E,
  Nolan ML, Jordan A, MacDonald R, Kunins HV. Addict Behav. 2017 Nov 16. pii: S0306-
  4603(17)30437-9.

  Medicine and Mass Incarceration: Education and Advocacy in the New York City Jail System.
  Giftos J, Mitchell A, MacDonald R. AMA J Ethics. 2017 Sep 1;19(9):913-921.

  Feasibility of Treating Hepatitis C in a Transient Jail Population. MacDonald R, Akiyama MJ,
  Kopolow A, Rosner Z, McGahee W, Joseph R, Jaffer M, Venters H. Open Forum Infect Dis. 2017
  Jul 7;4(3):ofx142.
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  Head Trauma in Jail and Implications for Chronic Traumatic Encephalopathy in the United
  States: Case Report and Results of Injury Surveillance in NYC Jails. Siegler A, Rosner Z,
  MacDonald R, Ford E, Venters H. J Health Care Poor Underserved. 2017;28(3):1042-1049.

  Death After Jail Release. Alex B, Weiss DB, Kaba F, Rosner Z, Lee D, Lim S, Venters H, MacDonald
  R. J Correct Health Care. 2017 Jan 1

  Correlates of Hepatitis C Virus Infection in the Targeted Testing Program of the New York City
  Jail System. Akiyama MJ, Kaba F, Rosner Z, Alper H, Kopolow A, Litwin AH, Venters H,
  MacDonald R. Public Health Rep. 2017 Jan/Feb;132(1):41-47

  Staff Satisfaction, Ethical Concerns, and Burnout in the New York City Jail Health
  System. Kalra R, Kollisch SG, MacDonald R, Dickey N, Rosner Z, Venters H. J Correct Health Care.
  2016 Oct;22(4):383-392.

  Hepatitis C Screening of the "Birth Cohort" (Born 1945-1965) and Younger Inmates of New
  York City Jails. Akiyama MJ, Kaba F, Rosner Z, Alper H, Holzman RS, MacDonald R.
  Am J Public Health. 2016 May 19:e1-e2. (Epub ahead of print)

  Improving Transgender Healthcare in the New York City Correctional System. Jaffer M, Ayad J,
  Tungol JG, MacDonald R, Dickey N, Venters H. LGBT Health. Jan 8 2016. (Epub ahead of print).

  The Rikers Island Hot Spotters: Defining the Needs of the Most Frequently Incarcerated. Ross
  MacDonald, MD, Fatos Kaba, MA, Zachary Rosner, MD, Allison Vise, David Weiss, MD, Mindy
  Brittner, MD, Molly Skerker, Nathaniel Dickey, MPH, MA, and Homer Venters, MD, MA.
  American Journal of Public Health. Am J Public Health. 2015 Nov;105(11)2262-8.

  Improving antenatal care in prisons. Skerker S, Dickey N, Schonberg D, MacDonald R and
  Venters H. Bulletin of the World Health Organization. 2015 Oct 1;93(10):739-740.

  Disparities in Mental Health Referral and Diagnosis in the New York City Jail Mental Health
  Service. Kaba F, Solimo A, Graves J, Glowa-Kollisch S, Vise A, MacDonald R, Waters A, Rosner Z,
  Dickey N, Angell S, Venters H. Am J Public Health. 2015 Sep;105(9):1911-6

  Physicians Trained to Work with Torture Survivors can add Critical Expertise in Jails.
  MacDonald R, Rosner Z, Venters H. Health and Humans Rights Journal. E-pub July 24th, 2015.
  http://www.hhrjournal.org/2015/07/24/physicians-trained-to-work-with-torture-survivors/

  Data-Driven Human Rights: Using Dual Loyalty Trainings to Promote the Care of Vulnerable
  Patients in Jail. Glowa-Kollisch S, Graves J, Dickey N, MacDonald R, Rosner Z, Waters A, Venters
  H. Health Hum Rights. 2015 Jun 11;17(1):E124-35.

  Traumatic Brain Injury Focus Groups as a Means to Understand Violence among Adolescent
  Males in the NYC Jail System. Graves J, Steele J, Kaba F, Glowa-Kollisch S, Ramdath C, Rosner Z,
  MacDonald R, Dickey N, Venters H. J Health Care Poor Underserved. 2015;26(2):345-57.
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  Operationalizing a Human Rights Agenda in Correctional Health. MacDonald, R., Rosner, Z.,
  Venters, H. (2015). SGIM Forum 38(1): 1, 12-13. http://www.sgim.org/publications/sgim-
  forum/current-issue#sthash.VSMZyoAL.dpuf

  Data-Driven Human Rights: Using the Electronic Health Record to Promote Human Rights in
  Jail. Glowa-Kollisch S, Andrade K, Stazesky R, Teixeira P, Kaba F, MacDonald R, Rosner Z, Selling
  D, Parsons A, Venters H. Health and Human Rights. 2014 Jun 14;16(1):157-65.

  Case series of exercise-induced rhabdomyolysis in the New York City jail system. MacDonald R,
  Rosner Z, Venters H. Am J Emerg Med. 2014 Mar 18. pii: S0735-6757(13)00563-9.

  Traumatic Brain Injury Among Newly Admitted Adolescents in the New York City Jail System.
  Kaba F, Diamond P, Haque A, MacDonald R, Venters H. J Adolesc Health. 2014 Feb 13. pii: S1054-
  139X(13)00833-1

  Solitary confinement and risk of self-harm among jail inmates.
  Kaba F, Lewis A, Glowa-Kollisch S, Hadler J, Lee D, Alper H, Selling D, MacDonald R, Solimo A,
  Parsons A, Venters H. Am J Public Health. 2014 Mar;104(3):442-7.

  A Description of an Urban Transitions Clinic Serving Formerly Incarcerated People. Fox AD,
  Anderson MR, Barlett G, Valverde J, MacDonald RF, Shapiro LI, Cunningham CO. J Health Care
  Poor Underserved. 2014;25(1):376-82.

  The triple aims of correctional health: patient safety, population health, and human rights.
  MacDonald R, Parsons A, Venters HD. J Health Care Poor Underserved. 2013 Aug;24(3):1226-34.

  Presentations:
  Healthcare in the NYC Jail System and the Health Risks of Jail. Ross MacDonald, MD. Society of
  Alumni of Bellevue Hospital. Wednesday, Feburary 7, 2018. New York, NY.

  Operational Feasibility of MAT in the Criminal Justice System. Ross MacDonald, MD. 2017
  Heroin Response Strategy Symposium. November 8, 2017. Atlanta, GA.

  Invited Session: Overcoming Barriers to Provide a Comprehensive Treatment Approach to
  Opioid Use Disorder from Incarceration to Community. Ross MacDonald, MD. American Public
  Health Association Conference. November 6, 2017. Atlanta, GA.

  Operational Feasibility of MAT in the Criminal Justice System. Ross MacDonald, MD. The
  Criminal Justice Response to the Opioid Crisis ICJIA conference. November 1, 2017.
  Bloomington, IL.

  Dual Loyalty and Correctional Health. Ross MacDonald, MD. Mount Sinai School of Medicine,
  InFOCUS course. October 25, 2017. New York, NY.

  Healthcare in the NYC Jail System and the Health Risks of Jail. Ross MacDonald, MD. Bellevue
  Hospital Social Justice Interest Group Noon Conference. September 20, 2017. New York, NY.
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  HCV and the NYC Jail System. Ross MacDonald, MD. 2017 New York State Hepatitis C
  Elimination Summit. February 7, 2017. Albany, NY.

  Healthcare in the NYC Jail System and the Health Risks of Jail. Ross MacDonald, MD. Bellevue
  Hospital Center, Department of Medicine Noon Conference. November 1, 2016. New York, NY.

  Dual Loyalty and Correctional Health. Ross MacDonald, MD. Mount Sinai School of Medicine,
  InFOCUS course. October 26, 2016. New York, NY.

  Addiction and Incarceration in NYC. Ross MacDonald, MD. Grand Rounds Program, Montefiore
  Medical Center at Waters Place, Division of Substance Abuse. October, 3 2016. Bronx, NY

  RxStat, Jails and Overdose. Ross MacDonald, MD and Chauncey Parker. Saving Lives: Innovative
  Solutions to the Opioid Crisis. September 7, 2016. Minneapolis, MN

  The Rikers Island Hot Spotters: Caring for the Most Frequently Incarcerated. Ross MacDonald.
  National Rx Drug Abuse & Heroin Summit. March 29th, 2016. Atlanta, GA.

  Public Health and the Carceral State. Prisons; Government 3141. Cornell University. March 22nd,
  2016. Ithaca, NY.

  Healthcare in the NYC Jail System and the Health Risks of Jail. Ross MacDonald, MD. NYU
  School of Medicine. Healthcare System Innovation and Policy Selective. March 17, 2016. New
  York, NY.

  Rolling Out HCV Treatment in Urban Jails. Ross MacDonald, Maya Yoshida-Cervantes, Vincent
  Gales. National Hepatitis Corrections Network Annual Meeting. Baltimore, MD. March 16th,
  2016.

  Healthcare in the NYC Jail System and the Health Risks of Jail. Ross MacDonald, MD. NYU
  School of Medicine, Department of General Internal Medicine Grand Rounds. New York, NY.
  8am February 9th, 2016

  Healthcare in the NYC Jail System and the Health Risks of Jail. Ross MacDonald, MD. NYU
  School of Medicine, Infectious Disease and Immunology Grand Rounds. New York, NY. 8am
  December 18th, 2015

  Why Incarceration Matters for Medical Care. Ross MacDonald, MD and Aaron Fox, MD. Albert
  Einstein College of Medicine, Einstein/Montefiore Department of Medicine Grand Rounds.
  Bronx, NY. 8AM, September 10th, 2015

  Why Incarceration Matters for Medical Care. Ross MacDonald, MD and Aaron Fox, MD.
  Montefiore Medical Center, Department of Medicine Grand Rounds. Bronx, NY. 12PM,
  September 10th, 2015

  Addiction and Incarceration in NYC. Ross MacDonald, MD. Grand Rounds Program, Montefiore
  Medical Center at Waters Place, Division of Substance Abuse. June 2, 2015.
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  Healthcare in the NYC Jail System and the Health Risks of Jail. Ross MacDonald, MD. NYU
  School of Medicine. Healthcare System Innovation and Policy Selective. March 13, 2015. New
  York, NY.

  Mass Incarceration, Community Health and Clinical Medicine. Ross MacDonald, MD, Aaron
  Fox, MD and Richard Medina CHW. Albert Einstein College of Medicine. February 25th, 2015.
  Bronx, NY.

  Opioid Overdose Prevention. Ross MacDonald, MD. Rutgers University 1st UCHC Joint Mental
  Health and Medical Conference. February 16, 2015. Mercerville, NJ.

  Addiction and Incarceration in New York City. NY Society of Addition Medicine 11th Annual
  Statewide Conference. Plenary Speaker. Jan 31,2015. New York, NY.

  Beyond Compassionate Release. Jonathan Giftos, Ross MacDonald, Zachary Rosner, Homer
  Venters. APHA Conference, November 2014, New Orleans, LA.

  Human Rights at Rikers: Dual Loyalty Among Jail Health Staff. Sarah Glowa-Kollisch, Homer
  Venters, Ross MacDonald. APHA Conference, November 2014, New Orleans, LA.

  Addiction and Incarceration in New York City. Aaron Fox & Ross MacDonald. ARDIS and DPH
  Research Seminar. Wednesday, October 28th, 2014. New York University School of Medicine.

  Healthcare on Rikers and the Health Risks of Jail. Ross MacDonald, MD. David Rogers Health
  Policy Colloquium, Weill Medical College of Cornell University, New York, NY. May 14th, 2014

  Mass Incarceration, Community Health and Clinical Medicine. Ross MacDonald, MD, Aaron
  Fox, MD and Richard Medina CHW. Albert Einstein College of Medicine. April 2nd, 2014. Bronx,
  NY.

  Healthcare in the NYC Jail System and the Health Risks of Jail. NYU School of Medicine.
  Healthcare System Innovation and Policy Selective. March 13, 2014. New York, NY.

  Traumatic Brain Injury in the Criminal Justice Population. Webinar. Hosted by the Council of
  State Governments Justice Center. Ashley Bridwell, LMSW, Ross MacDonald, MD. February 11,
  2014.

  Self-harm and solitary confinement in the NYC jail system. Homer D. Venters, MD, Daniel
  Selling, PsyD, and Ross MacDonald, MD. APHA 2013.
  Prevalence and incidence of traumatic brain injury among incarcerated New York City
  adolescents. Ross MacDonald, MD, Fatos Kaba, Alpha Haque, and Homer D. Venters, MD. APHA
  2013.

  Human rights on Rikers: Integrating a human rights-based framework for healthcare into New
  York City’s jail system. Sarah Glowa-Kollisch, Homer D. Venters MD, Ross MacDonald, MD.
  APHA 2013.
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  Staff satisfaction and attitudes in the NYC jail system. Ramneet Kalra, Andrea Lewis, Cecilia
  Flaherty, Sarah Glowa-Kollisch, Ross MacDonald, MD, Fatos Kaba, Homer D. Venters, MD. APHA
  2013

  Health risks associated with incarceration in jails. Ross MacDonald, MD, Daniel Selling, Psy,D,
  Cecilia Flaherty and Homer D. Venters, MD MS. APHA 2012.

  Improving Care in NYC Jail System for Transgender Patients and Patients Reporting Sexual
  Assault. Homer D. Venters, MD, Mohamed Jaffer, PA and Ross MacDonald, MD. APHA 2012.

  Montefiore Transitions Clinic: Reaching the Recently Incarcerated. R MacDonald MD; A Fox
  MD; J Lackner MD; L Shapiro MD; J Deluca MD; M Anderson MD. Presented at the 34th Annual
  Meeting of the Society for General Internal Medicine, May 2011, Phoenix, AZ.

  Transitions Clinic: Transitioning Healthcare from Prison to the Community. L Shapiro, R
  MacDonald, J DeLuca, M Anderson. Presented at the Academic & Health Policy Conference on
  Correctional Health, March 2011, Boston, MA.

  Transitions Clinic: Transitioning Healthcare from Prison to the Community. L Shapiro, R
  MacDonald, J DeLuca, M Anderson. Presented at the 33rd Annual Meeting of the Society for
  General Internal Medicine, May 2010, Minneapolis, MN
